                           DECISION OF DISMISSAL
This matter is before the court on Defendant's motion to dismiss on the ground that Plaintiff failed to appeal within the 90 days required by ORS 305.280(2) (2007).
A review of Plaintiff's materials shows the Notice of Deficiency Assessment and the Notice of Tax Assessment and Notice of Deficiency was mailed to Plaintiff on January 27, 2009, and December 26, 2008. The Complaint was filed on June 16, 2009. This interval is longer than the 90 days required by ORS 305.280(2), which provides:
  "An appeal under ORS 323.416 or 323.623 or from any notice of assessment or refund denial issued by the Department of Revenue with respect to a tax imposed under ORS chapter 118, 308, 308A, 310, 314, 316, 317,  318, 321 or this chapter, or collected pursuant to ORS  305.620, shall be filed within 90 days after the date of the notice. An appeal from a proposed adjustment under ORS 305.270 shall be filed within 90 days after the date the notice of adjustment is final."
The court is not aware of any circumstances that extend the statutory limit of 90 days. Defendant's motion is granted. Now, therefore,
Defendant's representative volunteered to send Plaintiff a "Doubtful Liability" form for Plaintiff to review and submit to Defendant. Plaintiff was told that, even though he was too late to appeal the notices, he could pay the income tax and file a refund request if Defendant's administrative review procedure outlined on the doubtful liability form is not open to him. *Page 2 
IT IS THE DECISION OF THIS COURT that Defendant's Motion to Dismiss is allowed. Plaintiff's Complaint is dismissed.
Dated this ____ day of November 2009.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Presiding Magistrate Jill A. Tanner onNovember 6, 2009. The Court filed and entered this document on November6, 2009. *Page 1 